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AO 91(Rev.08/09) CriminalComplaint

                                  U NITED STATES D ISTRICT C OURT
                                                       forthe                                  FlLED t)y                D.c.
                                            Southern DistrictofFlorida
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               United StatesofAmerica                                                                                      l
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                     Richard Russo                              CaseN o. 18-8239-W M                s.n.orFzs.-w pa..     f
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                                             CRIM INAI,COM PLAINT

        1,thecomplainantinthiscase,statethatthe following istnze tothebestofm y knowledgeand belief.
Onoraboutthedatets)of December5,2017-Januaw 4,2018 inthecounty of                         Palm Beach              inthe
   Southern    Districtof     Florida        ,thedefendantts)violated:
           CodeSection                                            OffenseDescrlption
18 U.S.C.j2252(a)42)                    Knowing receiptofchild pornography.
18 U.S.C.j2252(a)(4)(B)                 Knowing possessionofchi  ld pornography.




        Thiscriminalcomplaintisbased on thesefacts:
SEE ATTACHED A FFIDAVIT




        W Continuedontheattachedsheet.

                                                                         t ç-             t
                                                                                Complainant'
                                                                                           ssignature

                                                                         Rov T.VanBrunt.SpecialAqent,FBI
                                                                                   Printednameand title

Sworn tobeforeme and signed in my presence.


Date:          05/24/2018
                                                                                     J dge'
                                                                                          ssignature

City and state:              W estPalm Beach,Florida              Hon.W illiam Matthewman,U.S.Magistrate Judge
                                                                                   Printednameand title
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                              A FFID A VIT IN SU PPO RT O F
                   A N A PPLIC A TIO N FO R A C RIM IN AL CO M PLA IN T

       1,Roy T.V an Brunt,tirstbeing firstduly sw orn,hereby depose and state as follow s:

                                 AFFIAN T 'S BA C K G R O UN D

               lam aSpecialAgent(SA)in theFederalBureau oflnvestigation (FBl)and have
been so employed since June2003. lam currently assigned to theM iam iField OfficeoftheFBI

 where l work on the V iolent Crim es A gainst Children squad. Iam also a m em ber ofthe Child

 Exploitation Task Force(CETF)inSouth Florida. TheCETF iscomprisedofmany state,local,
 and federallaw enforcementagencieswhich includetheBroward SheriffsOffice (BSO),Palm
 Beach County Sheriff'sOffice(PBSO),andtheM iami-DadePoliceDepartment(M DPD)among
 others.

        2.     M y investigations prim arily relate to allegations of violent crim es, including

 offenses involving sexualexploitation ofchildren,to include possession,receipt,transportation,

 and distribution ofchild pornography,in violation ofTitle 18,United States Code,Section 2252

 and 2252A .These investigations included the use ofstandard investigative teclm iquesto include

 issuanceofsubpoenas,surveillancetechniques,undercoveractivities,theinterviewingofsubjects
 and w itnesses,asw ellastheplanning and execution ofarrest,search,and seizure w arrants. lhave

 also testified multiple timesin frontoffederalgrandjuriesaswellascourtproceedingsand
 crim inaltrials. In the course ofchild exploitation investigations,1have review ed stillim agesand

 videos containing child pornography and im ages depicting m inor children engaged in sexually

 explicitconducton m ultiple form sofelectronic m edia. lhave also discussed and review ed these

 m aterials w ith other law enforcem ent officers w ho also investigate the sexual exploitation of

 children. Ihave also attended conferencesrelated to the investigation and enforcem entoffederal

 child polmography law s.
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               This affidavitis subm itted in supportofa crim inalcom plaintcharging RICH ARD

 RUSSO (EERUSSO''),with knowingly receiving and possessing any visualdepiction,using any
 meansorfacility ofinterstate orforeign comm erce,and theproduction ofsuch visualdepiction

 involved the use ofa m inorengaged in sexually explicitconduct,as defined in Title 18,United

 StatesCode,Section 225642),andsuchvisualdepictionwasofsuchconduct,inviolationofTitle
 18,United StatesCode,jj2252(*(2)and (a)(4)(B).
              A lthough 1 am fam iliar w ith the fullbreadth ofthe facts and circum stances ofthis

investigation,l have not included in the affidavit each and every fact known to m e about the

m atters set forth herein,but only those facts and circum stances that l believe are sufficient to

establish probable cause forthe Courtto authorize a crim inalcom plaint.

              The statem ents contained in this affidavit are based upon m y investigation,

inform ation provided by other sworn 1aw enforcem entofficers,otherpersonnelspecially trained

in theseizureand analysisofcomputersand electronicmedia,and on m y experienceand training

as a federalagent.

                                         PR O BA BLE C AU SE

              On July 23, 2017, the N ational Center for M issing and Exploited Children

(tCNCM EC'')received a reportfrom an internetservice provider (i.e.a Cybertip),notifying
N CM EC that suspected im ages of child pornography w ere uploaded to an e-m ailby the em ail

accountuser.TheCybertipindicatedtherewasone(1)imagedepictingwhatappearedtobechild
pom ography. O n N ovem ber 27,2017,another Cybertip from a differentintem etservice provider

indicatedtherewasone(1)imagedepictingwhatappearedtobechildpornography.lnvestigation
indicated both Cybertipsrelated to the sam e individual,identified by the initials RS,who resided

in O akland Park, Florida. The phone num ber associated w ith the tirst Cybertip included a
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 telephone number linked to RS. The email address noted in the second Cybertip,

 Rustvo7z6o outlook.com .waswasalso linked to RS,in Oakland Park,Florida.

        7.     O n M arch 14,2018,Broward Sheriff'sO fficeexecuted a state search warrantatthe

 residence of R S. Several electronic devices w ere seized from his residence to be forensically

 exam ined and R S w as arrested and charged w ith m ultiple counts related to possession of child

 pornography. RS is currently detained at a BSO facility pending trial. A dditionalinvestigation

 identified otherindividualsinvolved in thedistribution and receiptofchild pornography.

        8.     The forensic review discovered a chatconversation betw een R S and an individual

 identified asççRitchie''(hereinafterRitchie).Thecommunication used amessaging application
named W hatsapp. Ritchiecommunicated via 15615230493@ s.whatsapp.net.Thechatbegan on
 Decem ber 5, 2017, and continued interm ittently until February 28, 2018. lncluded in the

comm unications were topicsofsex w ith canines and t'young.'' During these com m unicationsRS

transm itted m ultiple attachm ents of im ages or videos to Ritchie. Of these attachm ents at least

tlu'ee(3)wereimagesofchildpomographyandten (10)werevideosofchildpomography.
               On M ay 21,2018,youraffiantreviewed severaloftheattachmentsand confirmed

that they constituted child pornography files. Below are descriptions for a series of

com m unications on D ecem ber 5,2017,as w ellas severalofthe files sentfrom RS to Ritchie that

sam e date:

        A.      lm age tile depicted an im age of an adultm ale standing in frontof a naked m inor
        m ale kneeling in frontofhim . The adultm ale had hispantsbelow hisknees and the m inor
        m aleperform ed oralsex on the adultm ale. The m inorm ale appeared to be approxim ately
        10-12 yearsofage.

        B.     V ideo file approxim ately 1 m inute and 49 seconds in length and depicted a naked
        adultm ale and a naked m inorm ale w ho appeared to be approxim ately 8-10 years ofage.
        The m inorm ale laid on hisstom ach on a bed w ith the adultm ale on top ofhim . The adult
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       maleperformed analsex on thejuvenilemale,then inserted histongueintotheminor's
       anus,m assaged hisbuttocks,then m ounted the m inorand continued to have analsex.

       C.      lm age file depicted an im age ofan adultm ale w ith hiserectpenisexposed standing
       in frontof a m inor m ale,approxim ately 8-10 years ofagc. The m inor w as lying on his
       back,legsup in the airpulled back tow ards his head area. The m inor's pants werepulled
       dow n exposing hisanus.Theadultm ale'serectpenisw asplaced on theopening ofm inor's
       anus.

       D . Video file approxim ately 4 minutes and 25 seconds in duration and depicted a
       m inorm ale w ho w as approxim ately 14-16 yearsofage sitting on a bed naked. The m inor
       perform ed oralsex on a naked adultm ale.

Follow ing the distribution/receiptofthose files,Ritchie com m ented thattt-
                                                                           l-hose videosw ith little

boys are hot''

       10.       The dialogue continued on January 4,2018 when RS transm itted one im age and

three videos to Ritchie. Tw o of the videos involved an adultm ale engaging in sexually explicit

conductwith an infant.

       A. lm age file depicted a minormale approximately 6-8 yearsofage wearing a green
       shirt. The m inorwas show n perform ing oralsex on an adultm ale's fully erectpenis.

       B.      Video tile approxim ately 1m inute and 59 seconds in length and depicted an adult
       m ale w earing a red shirt pulled up to his chest and m ulti-colored pants pulled down
       exposing his genitalarea. The adultm ale washolding a m aleinfantwho appeared to be
       approxim ately 10 -12 m onthsold. The infantw ore a yellow shirtand w asnaked from the
       waistdow n. The adultm ale appeared to have his penis inserted into the infant's anus as
       he carried the infantw ith the infant's legs w rapped around his waistbefore he ultim ately
       placed the infantback onto a bed. Once on the bed,the adultm ale looked into the cam era,
       rem oved hispenis9om the infant'sanus,pushed theinfant'slegsupw ard tow ardshishead,
       and reinsertshis penisinto the infant's anus. The adultm ale than began to have violently
       forcefulanalsex w ith the infant. Itappeared as ifthe infantw as attem pting to push the
       adultm aleoffofhim butwasunsuccessful.

       C.      Video file approxim ately 2 m inutes in length and depicted an adultm ale w earing a
       red shirtpulled up to his chestand m ulti-colored pantspulled dow n exposing his genital
       area. The adultm ale laid on an infant m ale w ho appeared to be approxim ately 10 -12
       m onthso1d w ho w aswearing a yellow shirtand w asnaked from the w aistdown. The adult
       m ale appeared to have hispenisinserted into the infantanus and violently perform ed anal
       sex on the infant.The adultm ale stnlggled to hold theinfantdow n,who continually m oved


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        in an attem ptto getaway from the adultm ale. The infant'sm ovem entcaused the adult
        m ale to change positions severaltim esin orderto continue the sexualact.
 Follow ing the distributiorl/receiptofthose files,RS and Ritchie com m unicated the follow ing:

        R S:You deleted this message
        RS:Didyou blockme?
        Ritchie:N o w/ly would Iblockyou.
        RS: Triedsending 3rdhnalpotion(sp)ofthatvidand itwtm '/gothrough.
R S then transm itted anothertile to Ritchie.
       D.       V ideo file approxim ately 1 m inute and 26 seconds in length and depicted an adult
       m alew earing a red shirtpulled up to hischestand m ulti-colored pantspulled dow n exposing
       his genitalarea. The adultm ale had an infantm alepulled into hischestarea and held him
       close to his body w hile he violently engaged in analsex w ith the infant. Once the adult
       maleejaculated,heusedsomethingwhiteinordertowipetheinfant'sanalarea.Theadult
       m ale then laid the infanton the bed,satupright,and pulled hispants back on.
        11.    On January 5,2018,Ritchie transm itted an im age file to R S. The im age,which

Ritchie claim ed to be him self,depicted an adultm ale w hom 1aw enforcem entconfinned m atched

theimagesofRUSSO,discussed inh-a.
               Law enforcem ent conducted an investigation into the phone num ber used by

Ritchie viatheW hatsApp application (i.e.561-xxx-0493).1 Law enforcem ent investigated the
W hatsapp numberused by Ritchie (i.e.561-xxx-0493). Law enforcem entdatabases aswellas
public source data indicated the num ber is associated w ith an adult m ale nam ed RICH ARD

RUSSO appearsto residewithintheSouthenzDistrictofFlorida. lthen compared the image sent

by m tchieon January 5,2018 with im agesfrom theState ofFloridaDepartm entofHighway and

M otorVehiclesDriverandVehicleInformation Database(DAVID).A searchforRUSSO inthis


1W hatsAppM essengerisafreewareandcross-platform m essagingservicethatallowscornm unicationviatext
messages,voicecalls,videocalls,and im ages.Thisapplicationrunsfrom am obiledeviceandusesstandard
cellularm obilenumbers.
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 database revealed a driverlicensephotograph strikingly sim ilarto theim age sentby Ritchie to RS

on/aboutJanuary 5,2018. A dditionalinvestigation revealed thatRU SSO is currently em ployed

by Custom sand BorderProtection asa ParalegalSpecialistin the Fines,Penaltiesand Forfeiture

D ivision and has been so em ployed since 2003.

        13.    According to DAVID,RUSSO 'S residentialaddress is listed in Boynton Beach,

Florida.D AV ID records reflect that RU SSO drives as a black K ia sedan,bearing Florida Tag

num ber ending in 4U SR ,which is also registered to RU SSO 'Sresidence. Law Enforcem enthas

observedthisvehicleandm atchingplate attheresidenceseveraltim esin M ay 2018.Based on the

foregoing,thereisprobablecausetobelievethattheW hatsappnumberusedbyRitchie(i.e.561-
xxx-0493)belongsto RUSSO. Based on mytraining and experience,1know thatquiteoften,
people use variations oftheir own name (or a shortened version thereog when identifying
them selves in an online environm ent. ln this instance,Ritchie is a com m on nicknam e for m en

w ith the tirstnam e R ichard. In perfonning surveillance at RU SSO 'S residence and exam ining

RU SSO 'S work schedule,1believe that RU SSO w as likely athom e w hen com m unicating w ith

RS.

                                        C O N CLU SIO N

        14.    Based on the aforem entioned factualinform ation,youraffiantrespectfully subm its

thatthere isprobable cause to believe thatfrom on or aboutD ecem ber 5,2017,through atleast

January 4,2018,RUSSO did knowingly receive and/orpossesschild pom op aphyinviolation of




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    Title18UnitedStatesCode,Sections2252($(2)and(a)(4)(B).

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                                                 FederalBureau oflnvestigation -M iam i

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    sw om and subscribed beo   m e this      day orM ay,2018.

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    The Honorable W illiam M at ew m an
    U nited StatesM agistrate Jud
